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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

CARL CREWS,                                        *
     Plaintiff                                     *
                                                   *
v.                                                 * Case No.: RWT 09cv561
                                                   *
SUNTRUST BANK,                                     *
    Defendant.                                     *
                                                  ***

                                              ORDER

       Upon consideration of Defendant SunTrust Bank’s Motion for Summary Judgment

(Paper No. 13), and the opposition and reply thereto, it is, for the reasons stated in the

accompanying Memorandum Opinion, this 13th day of May, 2010, by the United States District

Court for the District of Maryland,

       ORDERED, that Defendant’s Motion for Summary Judgment (Paper No. 13) is

GRANTED; and it is further

       ORDERED, that a Judgment for costs be entered in favor of Defendant SunTrust Bank

against Plaintiff Carl Crews; and it is further

       ORDERED, that the Clerk of Court is directed to CLOSE the case.




                                                                   /s/
                                                               ROGER W. TITUS
                                                        UNITED STATES DISTRICT JUDGE
